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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 DEBORAH LAUFER,
                               Plaintiff,
                                                                    20-CV-6211 (JPO)
                        -v-
                                                                          ORDER
 PANTA REALTY, CO.,
                               Defendant.


J. PAUL OETKEN, District Judge:

       Defendant was served on August 27, 2020. (Dkt. No. 9.) However, no appearance has

been entered on Defendant’s behalf, and no response to the complaint has been filed in the

allotted time. Plaintiff has not moved for a default judgment.

       Plaintiff is directed to notify the Court whether she intends to move for default judgment,

or if she has received any communication from Defendant or its counsel regarding a response to

the complaint.

       If Plaintiff fails by November 4, 2020, to either (1) file a letter concerning the status of

the case, or (2) move for default judgment against Defendant, the action may be dismissed for

failure to prosecute.

       Plaintiff is directed to serve a copy of this order by mail on Defendant.

       SO ORDERED.

Dated: October 20, 2020
       New York, New York

                                              ____________________________________
                                                         J. PAUL OETKEN
                                                     United States District Judge
